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EXHIBIT 2

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/T N\W'\`>/\.§
mm IN THE DISTRICT COURT IN AND FOR OKLAH
\WEU MUWQ 6 “ STATE oF 0KLAH0MA H%§LK§%§R£%TUCOURT
JAMES E. ZINNAMON, ) MAY 1 0 2916
) TIM RHODES
Plaintiff, ) COURT CLERK
) “-Nn…
vs. ) `
) CaseNo.: m °'20]6 ""2 3 8 7
LIBERTY MUTUAL FIRE INSURANCE )
COMPANY, a Foreign For Profit ) Judge:
Business, LIBERTY MUTUAL )
GROUP, a Foreign for Profit Business, )
and LIBERTYGUARD AUTO )
POLICY DECLARA'I`I()NS, a Foreign )
For Profit Business, )
)
Defendants. )
PETITION

COMES NOW the Plaintiff, James E. Zinnamon, by and through his attorneys of record,
Garrett Law Center, PLLC, and for his cause of action against the above named Defendants
alleges and states as follows:

JURISDICTION AND VENUE

l. That the Plaintiii" is a resident of Oklahoma City, Oklahoma County, State of
Ol<lahoma. That the Def`endants, are foreign companies doing business in the State of Oklahoma.
That the automobile accident giving rise to this action occurred in Oklahoma County, Oklahoma,
thus making jurisdiction of this Court just and proper.

COUNT l
BREACH OF CONTRACT

2. Plaintiff alleges that on September 14, 2011, the Plaintlff a driver involved in a

motor vehicle collision with a third party driver.

3. The Plaintlff was a driver in an automobile covered by an insurance policy

 

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issued by the Defendants. That said policy of insurance included coverage for injuries caused by
an uninsured/underinsured motorist for Which the limits were $50_.000.00 per person, and
3100,000.00 per incident Fulther, that said policy was in effect and covers injuries sustained by
the Plaintiff in the automobile accident that occurred on September l4, 2011.

4. As a result of a third party driver’s negligent operation of a vehicle on September
14, 2011, Plaintifi` has suffered injuries to his person, has incurred medical expenses, has and
will endure mental and physical pain and suffering, has incurred past medical expenses, has
sustained permanent impairment and injury and may incur future medical expenses

5. That, at the time of the aceident, the third party driver of other vehicle was under-
insured. That pursuant to the terms of the policy of insurance With the Defendants, this is a
factual situation wherein the uninsured/underinsured motorist coverage contained in said policy
with Defendants applies to the accident involving Plaintiff and under-insured driven occurring
on September 14, 2011.

6. Plaintii`f has requested that Defendants make a settlement under said policy, and
Defendants have failed to make a reasonable offer and payment in connection with said policy.
Plaintii`f has performed all conditions precedent under the poiicy.

7. That the Defendants have breached its contract of insurance and have wholly
refused or neglected to pay Plaintii`f the value of his uncompensated damages Said failure
constitutes a breach of contract of said insurance policy, and the Plaintiff is entitled to a
judgement against Defendants in the amount of $10,000.00 for the personal injuries he sustained

while covered by such contract, together with attorney‘s fees and costs.

 

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c_O_le_Tu
BREACH OF THE COVENANT OF GOOD FAITH
AND FA[R DEALING

For his second claim for relief, the Plaintiff, lames E. Zinnamon, alleges and states as
follows:

8. He adopts and realleges the allegations of Count One, Paragraphs 1 through 7, as
if they were fully rewritten and fully set forth herein.

9. In refusing to make the payment described, the Defendants breached their
obligation to pay the amount due under the policy as stated above within a reasonable amounth
time after having received notice of the loss described above. The Defendants further failed to
deal fairly with the Plaintiff. The refusal of the Defendants to deal in good faith with the Plaintiff
was willful and in bad faith. ln so acting, the Defendants breached its implied covenant of good
faith and fair dealing that it would not do anything which would injure the right of the Plaintiff to
receive the full benefits of his insurance policy.

lO. As a proximate result of the bad faith of the Defendants described above, the
Plaintiff was forced to retain legal counsel at a substantial cost to him. Moreover, as a result of
the unreasonable refusal to pay policy benefits on the part of the Defendants, the Plaintiff has
suffered mental and emotional distress for which he is entitled to receive compensation in the
amount in excess of $10,000.00.

ll. The bad faith refusal to pay policy benefits on the part of the Defendants Was
grossly oppressive, wanton and willful, therefore entitling the Piaintiff to request and receive
punitive damages in an amount in excess of $10,000.00.

WHEREFORE, the Plaintiff prays judgment against the Defendants for actual damages
for attorney fees and for mental and emotional distress in excess of $10,000.00, as well as

punitive damages in an amount in excess of $10,000.00, his costs, attorney fees, and any other

 

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relief this Court deems just and fair.

Respectfully submitted this O’W` day éf §§3) § ,é , 2016.

TT LA CEN'I`ER, PLLC

 
 
   

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